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10                           UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
12 BRYON STAFFORD, Individually           )   Case No: 3:17-cv-01340-AJB-JLB
     and on Behalf of All Others          )
13 Similarly Situated,                    )   SECOND AMENDED CLASS ACTION
14                                        )   COMPLAINT FOR:
                             Plaintiff,   )
15                                        )   (1) VIOLATIONS OF THE
            v.                            )   CALIFORNIA UNFAIR
16                                        )   COMPETITION LAW;
17 RITE AID CORPORATION,                  )   (2) VIOLATIONS OF THE
                                          )   CALIFORNIA CONSUMER LEGAL
18                           Defendant.   )   REMEDIES ACT;
                                          )   (3) UNJUST ENRICHMENT; AND
19                                        )   (4) NEGLIGENT
                                          )   MISREPRESENTATION.
20                                        )
21                                        )   DEMAND FOR JURY TRIAL
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 1        Plaintiff Bryon Stafford ("Plaintiff"), by his undersigned attorneys, individually
 2 and on behalf of all others similarly situated, based on personal knowledge as to

 3 himself and upon information and belief and the investigation of his counsel as to all

 4 other matters, for his Second Amended Class Action Complaint, brings this consumer

 5 class action against defendant Rite Aid Corporation ("Rite Aid") and alleges the

 6 following:

 7                                NATURE OF THE ACTION
 8        1.        This action concerns Rite Aid's deceptive and unfair pricing scheme to
 9 overcharge customers with third-party health care plans on their purchases of generic

10 prescription drugs at Rite Aid pharmacies.

11        2.        Rite Aid is currently the third largest retail pharmacy chain in the United
12 States, with more than 4,500 stores in thirty-one states and in the District of
                1
13 Columbia.        For the fiscal year ending March 4, 2017, Rite Aid had over $18 billion
14 in pharmacy sales.

15        3.        In fiscal year 2017, Rite Aid filled approximately 302 million
16 prescriptions and served, on average, two million customers per day. Prescription

17 drugs accounted for approximately 68% of those sales, and like other major retail

18 pharmacies, generic drugs accounted for the vast majority of the total prescriptions
19 dispensed by Rite Aid.         According to the Association for Accessible Medicines'
20 (formally known as the Generic Pharmaceutical Association) 2016 Generic Drug

21 Savings and Access in the United States Report, generic drugs accounted for 89% of

22 prescriptions dispensed in the United States.

23        4.        A generic drug is a pharmaceutical drug that is the equivalent of a brand-
24 name drug in dosage, strength, route of administration, quality, performance, and

25

26   1
    In June 2017, a deal was announced between Walgreen Co. ("Walgreen") and Rite
27 Aid, whereby Walgreen will purchase 2,186 stores and three distribution centers from
   Rite Aid. This deal has yet to be consummated.
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 1 intended use. Generic drugs typically cost less than their brand-name counterparts

 2 and have saved both consumers and health care plans hundreds of billions of dollars

 3 over the last decade.

 4         5.     Approximately 98% of Rite Aid's clients are enrolled in a private or
 5 public health care plan that covers some or all medical and pharmaceutical expenses.

 6 In almost every one of these plans, the cost of prescription drugs is shared between

 7 the third-party payor (i.e., the health insurance plan) and the actual user of the drug

 8 (i.e., the plan participant).

 9         6.     When a plan participant fills a prescription at a pharmacy under a third-
10 party health care plan, the plan pays a portion of the cost, and the plan participant

11 pays the remaining portion of the cost directly to the pharmacy, either as a

12 copayment,      coinsurance, or contracted rate towards the plan's deductible
13 ("copayment"). Because of the potential cost savings associated with the purchase of

14 generic drugs, third-party payors incentivize plan participants to purchase generic

15 drugs (if available) instead of their brand-name drug equivalents by offering a lower

16 price, which in turn, results in a lower copayment.

17         7.     Rite Aid pharmacies collect the copayment from the plan participant at
18 the time the prescription is filled at a pharmacy. Importantly, by law, Rite Aid cannot
19 charge a copayment that exceeds its "usual and customary" price, which is generally

20 defined within the pharmaceuticals industry as the cash price most commonly
                                                                             2
21 charged to the general public by the pharmacy for the same drug.              Rite Aid,
22 however, engages in a false, deceptive, and unfair pricing scheme that does exactly

23 what the law prohibits.

24         8.     At bottom, this action concerns Rite Aid's illegal practice of
25

26   2
     The Seventh Circuit Court of Appeals recently affirmed this definition in the case of
27 United States ex rel Garbe v. Kmart Corp., 824 F.3d 632, 643 (7th Cir. 2016)
   ("Kmart").
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 1 overcharging customers enrolled in public or private health care plans for generic

 2 prescription drugs by submitting to third-party payors claims for payment at prices

 3 that Rite Aid has knowingly and intentionally inflated above its "usual and

 4 customary" prices. As a result, customers who purchase generic prescription drugs

 5 through third-party plans pay copayments that are significantly more than Rite Aid's

 6 "usual and customary" prices for those same drugs.

 7        9.     The lynchpin of Rite Aid's scheme is its Rx Savings Program ("RSP"), a
 8 prescription savings program that allows cash-paying customers—those who pay for

 9 drugs without using insurance—to purchase 350 of the most commonly prescribed

10 generic drugs listed on Rite Aid's special formulary (attached hereto as Exhibit A) at

11 price levels, generally, of only $9.99 for a thirty-day supply and $15.99 for a ninety-
                                    3
12 day supply (the "RSP Prices").       The RSP Prices, however, are often significantly
13 lower than the prices that Rite Aid reports to health insurance companies as Rite

14 Aid’s "usual and customary" prices, and thus, the amounts that individuals using

15 insurance must pay for the drugs in the form of a copayment.

16        10.    Any member of the general public is eligible to participate in the RSP.
17 Rite Aid does not limit eligibility for, or duration of the availability of, the RSP

18 Prices for the prescription generic drugs at issue. The Seventh Circuit's decision in
19 Kmart makes clear that under these circumstances the RSP Prices fit squarely within

20 the accepted industry meaning of "usual and customary" prices, and thus, represent

21 Rite Aid's actual usual and customary prices for the drugs. See id. at 645.

22        11.    Accordingly, Rite Aid was required by law to report to third-party
23 payors the RSP Prices as Rite Aid's usual and customary prices for the prescription

24 generic drugs. However, since the RSP was created in 2008, and unbeknownst to

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     3
      This copy of Rite Aid's RSP formulary was obtained by Plaintiff's counsel in May
26
   2017, and as explained herein, Plaintiff was not aware of the RSP or the formulary
27 prior to that date.

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 1 Plaintiff until May 2017, Rite Aid has purposefully disregarded the RSP Prices in

 2 setting its "usual and customary" prices for the drugs when they are sold to customers

 3 using insurance for their purchase. Instead, Rite Aid has submitted falsely inflated

 4 "usual and customary" prices for the drugs to third-party payors, and in the process,

 5 overcharged customers paying for the drugs with insurance by collecting falsely

 6 inflated copayments.

 7        12.    Thus, using the RSP as its vehicle, Rite Aid has effectively created a
 8 discriminatory pricing scheme, whereby members of the general public enrolled in

 9 the RSP who are not using insurance when purchasing a prescription generic drug

10 from Rite Aid are able to pay the lower RSP Price, while those customers using

11 insurance must pay the higher and artificially inflated "usual and customary" price.

12        13.    Therefore, the RSP not only allows Rite Aid to maintain and increase its
13 market share by fending off discounted prices from its competitors, but more

14 importantly, it provides a mechanism for Rite Aid to hide its actual "usual and

15 customary" prices from third-party payors so that it can continue to collect higher

16 reimbursement payments from third-party payors and higher copayments from plan

17 participants, such as Plaintiff, who fill their prescriptions at Rite Aid pharmacies.

18        14.    Indeed, although any member of the general public is eligible to
19 participate in the RSP, Rite Aid does not advertise the RSP in its pharmacies,

20 including at the point of purchase. Furthermore, while Rite Aid pharmacists often

21 advise customers who do not have insurance of the availability of the RSP, they do

22 not advise customers using insurance that the drug being purchased may be cheaper

23 if they paid with cash through the RSP, a program that Rite Aid touts as being helpful

24 for people who do not have insurance or who are uninsured.              Moreover, upon
25 information and belief, many pharmacies are prohibited by pharmacy benefit

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                          4
 1 managers ("PBMs") to disclose such information to customers using insurance to

 2 purchase their drugs.

 3         15.    Even with knowledge of the RSP and its prices, customers using
 4 insurance still may not be able to ascertain that they are being charged inflated

 5 copayments. For example, while the "usual and customary" price Rite Aid reports to

 6 a third-party payor may exceed the RSP price for the same drug, the copayment paid

 7 by the customer may ultimately be lower than the RSP price. However, because

 8 copayments are usually calculated based on the "usual and customary" price Rite Aid

 9 reports to third-party payors, the customer would have paid a lower copayment but

10 for Rite Aid's practice of reporting inflated "usual and customary" prices to third-

11 party payors.     The complex and involved analysis needed to ascertain Rite Aid's
12 illegal scheme requires both access to information that customers do not have and

13 deduction beyond that expected of a lay customer.

14         16.    By charging amounts for prescription generic drugs that are above the
15 RSP Prices for those same drugs, Rite Aid is unlawfully overcharging and

16 discriminating against plan participants and third-party payors.        Accordingly, Rite
17 Aid's misconduct has caused Plaintiff and the other Class (as defined herein)

18 members to suffer significant monetary damages.
19

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     4
21      PBMs are basically middle men that go between the third-party payors and
     everyone else in the healthcare industry. PBMs' technical function is to administer
22   health coverage providers' prescription benefit programs. PBMs develop coverage
23   providers' formularies (the list of prescription benefits included in coverage at various
     pricing "tiers"), process claims, and negotiate with manufacturers. PBMs also
24   contract with retail and community pharmacies. Pharmacies agree to dispense
25   covered prescription products to insured customers. Contracts between PBMs and
     pharmacies provide for a payment rate for each prescription, plus a dispensing fee
26   kept by the pharmacies. Pharmacies are also responsible for collecting patient cost-
27   sharing payments (co-payments) and sending those to the PBMs or reducing the
     PBMs' or plans' share owed by that amount.
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 1                             JURISDICTION AND VENUE
 2         17.   This Court has jurisdiction over this action pursuant to 28 U.S.C.
 3 §1332(d)(2)(A), the Class Action Fairness Act, because the matter in controversy

 4 exceeds the sum or value of $5,000,000, exclusive of interest and costs, there are

 5 more than 100 putative Class members, and at least one Class member is of diverse

 6 citizenship from Rite Aid. In addition, because more than two-thirds of the members

 7 of the Class are citizens of states other than California and Rite Aid is not a citizen of

 8 California, the exceptions to jurisdiction under 28 U.S.C. §1332(d) do not apply.

 9         18.   Venue is proper in this court pursuant to 28 U.S.C. §1391, because
10 Plaintiff resides and suffered injury as a result of Rite Aid's acts and omissions in this

11 District, many of the acts and transactions giving rise to this action occurred in this

12 District, Rite Aid conducts substantial business in this District, it has intentionally

13 availed itself of the laws and markets of this district, and Rite Aid is subject to

14 personal jurisdiction in this District.

15                                      THE PARTIES
16         19.   Plaintiff is, and at all times relevant hereto has been, a citizen of and
17 domiciled in San Diego, California. Plaintiff purchased prescription generic drugs

18 from Rite Aid pharmacies located in California beginning in or around January 2015
19 through December 2017. Plaintiff carried private health insurance at the times that he

20 purchased the prescription generic drugs from the Rite Aid pharmacies at issue.

21         20.   Although the prescription generic drugs that Plaintiff purchased were
22 contained on the RSP formulary, at no point in time when these purchases were made

23 was Plaintiff aware of the RSP, that the drugs he purchased were on the RSP

24 formulary, or that the prices of the drugs under the RSP were cheaper than what he

25 paid, or otherwise less than the amount Rite Aid submitted to his insurance.

26 Moreover, because Plaintiff’s insurance covered the drugs he purchased, he had no
27 reason to conduct an investigation to determine whether he could purchase the drugs

28 at a lower price through an alternative means.
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 1        21.    Rite Aid charged its cash-paying customers its "usual and customary"
 2 prices of $9.99 for a thirty-day supply of the same prescriptions that Plaintiff

 3 purchased. However, because Rite Aid submitted to Plaintiff's insurance a purported

 4 "usual and customary" price fraudulently inflated above its true "usual and

 5 customary" price—the price Rite Aid charges under the RSP—Plaintiff paid

 6 copayments that were either substantially higher than the price of $9.99 for a thirty-

 7 day supply, or significantly more than the copayment would have been, had Rite Aid

 8 reported the true "usual and customary" price for all the drugs to Plaintiff's insurance.

 9 Thus, each time Rite Aid charged Plaintiff’s insurance a price for a drug that was

10 higher than the price listed on the RSP for that same drug, Plaintiff suffered a

11 separate and independent injury.

12        22.    Plaintiff anticipates filling future prescriptions for these generic drugs at
13 a Rite Aid pharmacy, and thus, faces the prospect of paying additional inflated

14 copayments in the future if Rite Aid continues its wrongful conduct.

15        23.    Plaintiff paid the above amounts on the reasonable assumption that the
16 "usual and customary" prices reported by Rite Aid were the actual "usual and

17 customary" prices paid by customers that do not have any form of prescription drug

18 coverage from a third-party payor, and would not have paid those inflated amounts
19 but for Rite Aid's wrongful conduct.

20        24.    Defendant Rite Aid is headquartered in Camp Hill, Pennsylvania, and
21 was incorporated in 1968 in Delaware.            Defendant operates a chain of retail
22 drugstores in the United States through two distinct segments: Retail Pharmacy and

23 Pharmacy Services. The Retail Pharmacy segment sells prescription drugs, as well as

24 a range of other merchandise, such as over-the-counter medications, health and

25 beauty aids, personal care items, cosmetics, household items, food and beverages,

26 greeting cards, seasonal merchandise, and other convenience products. This segment
27 also operates retail clinics that provide treatment for common conditions and offer a

28 range of preventive services, including screenings, medical tests, immunizations, and
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 1 basic physical exams. In addition, this segment provides healthcare coaching and

 2 disease management services. The Pharmacy Services segment provides pharmacy

 3 benefit management services and a range of pharmacy-related services. This segment

 4 also performs prescription adjudication services for other PBMs, offers integrated

 5 mail-order and specialty and compounding pharmacy services, and provides

 6 infertility treatment, as well as drug benefits under the federal government's Medicare

 7 Part D program.

 8        25.    As of March 4, 2017, Rite Aid operated 4,536 stores in thirty-one states
 9 of the United States and in the District of Columbia, including more than 580 stores

10 located in California alone. In addition, Rite Aid operates three distribution centers

11 in California—513,000 and 200,000 square-foot facilities located in Woodland,

12 California, and a 914,000 square-foot facility located in Lancaster, California.

13 Further, Rite Aid operates a 55,650 square foot ice cream manufacturing facility and

14 a 32,000 square foot storage facility in El Monte, California.

15                                    BACKGROUND
16 The Process for Paying for Prescription Drugs

17        26.    The majority of patients in the United States have a health care plan
18 (either private or public) that covers all or a portion of their medical and
19 pharmaceutical expenses, known as a third-party payor.           Most plans require plan
20 participants to pay a portion of their drug costs out-of-pocket. These out-of-pocket

21 expenses include copayments.

22        27.    Even though plan participants cannot and do not negotiate the price
23 charged by pharmacies such as Rite Aid for prescription drugs, and further, do not

24 negotiate the copayment price for the drug in any given transaction, they are required

25 to pay to Rite Aid a copayment amount in order to receive the prescription.

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 1         28.   The National Council for Prescription Drug Programs ("NCPDP") 5 sets
 2 the industry standards for the electronic transmission of pharmacy claims to third-
                   6
 3 party payors.       Rite Aid follows this uniform process at its pharmacies for each
 4 prescription drug transaction.

 5         29.   When a customer fills a prescription at a Rite Aid pharmacy, anywhere
 6 in the United States, the pharmacist or pharmacy technician enters the prescription

 7 information and any applicable insurance or benefit information into Rite Aid's

 8 computerized claims.      The pharmacist or pharmacy technician also enters in key
 9 information about the customer, such as his/her name. This information is then sent

10 to the customer's third-party payor (or an agent of the third-party payor). Rite Aid

11 charges the customer the copayment at the time the customer makes the purchase and

12 the third-party payor covers the remaining cost of the prescription.

13         30.   NCPDP provides a standardized form for Rite Aid pharmacies to fill out
14 and send to third-party payors when filling prescriptions.         The form includes
15 Transmission Pricing Record Field No. 426-DQ, where Rite Aid is required to report

16 its "usual and customary" price of the prescription being filled.       The NCPDP
17

18   5
       NCPDP is a non-profit organization that develops industry standards for electronic
19   healthcare transactions used in prescribing, dispensing, monitoring, managing, and
     paying for medications and pharmacy services. Its membership is made up of
20   approximately 1,500 stakeholders from across the pharmaceutical industry, including
21   pharmacies, pharmacists, health plans, and government agencies.
     6
        Congress has codified and adopted the NCPDP standards through federal
22   legislation, including the Health Insurance Portability and Accountability Act
23   ("HIPAA"), Medicare Modernization Act, Health Information Technology for
     Economic and Clinical Health, and Meaningful Use. For example, HIPAA requires
24   uniform methods and codes for exchanging electronic information with health
25   insurance plans. These standards are referred to as the NCPDP Telecommunication
     Standard. HIPAA also requires prescribers follow the NCPDP SCRIPT Standard
26   when prescribing drugs under Medicare Part D. See 45 C.F.R. §162.1102(a)-(c)
27   (adopting the NCPDP standard for retail pharmacy electronic drug claims under
     HIPAA).
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 1 Reference Manual on Flat File Format defines the term "usual and customary" as the

 2 "[a]mount charged cash customers for the prescription exclusive of sales tax or other

 3 amounts claimed."      California Welfare and Institutions Code section 14105.455
 4 similarly defines "usual and customary" as the lesser of either the lowest price

 5 reimbursed to the pharmacy by other third-party payors in California or the lowest

 6 price routinely offered to any segment of the general public. Further, California's

 7 Medi-Cal provider agreement form DHCS 6208 requires pharmacies to abide by "all

 8 federal laws and regulations governing and regulating Medicaid providers" and with

 9 all billing and claims requirements in the California Welfare and Institutions Code, as

10 well as its implementing regulations.

11        31.    This definition of "usual and customary" price is followed by PBMs.
12 For instance, Express Scripts, Inc., a PBM that includes Rite Aid in its network,

13 defined the "Usual and Customary Retail Price" in its Pharmacy Network Manual as

14 "[t]he usual and customary retail price of a Covered Medication in a cash transaction

15 at the Pharmacy dispensing the Covered Medication (in the quantity dispensed) on

16 the date that it is dispensed, including any discounts or special promotions offered on

17 such date."    Another large PBM, Prime Therapeutics LLC, defined "Usual and
18 Customary Charge" in its Pharmacy Provider Manual as "the lowest price the
19 Participating Pharmacy would charge to a particular [customer] if that customer

20 [were] paying cash for the identical Prescription Drug Services on the date dispensed.

21 This includes any applicable discounts including, but not limited to, senior discounts,

22 frequent shopper discounts and other special discounts offered to attract customers."

23        32.    Based on the data reported by Rite Aid on NCPDP's standard forms,
24 third-party payors identify the copayment amount that the customer must pay to Rite

25 Aid in a specific prescription transaction. The copayment amount is a portion of the

26 total drug price and cannot exceed the drug price. In addition, the copayment cannot
27 exceed Rite Aid's "usual and customary" price of the drug. After the copayment

28 amount is paid by the customer, the remainder of the drug price is reimbursed to the
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 1 Rite Aid by the third-party payor.

 2        33.    In some situations, however, the copayment may only be charged as a
 3 percentage of the "usual and customary" price. For instance, if a third-party payor's

 4 negotiated price for a specific drug is $40 with the customer being responsible for

 5 25% of the drug as his or her copayment, but the "usual and customary" price of the

 6 drug is only $20, the $20 price would take the place of the negotiated rate and the

 7 customer would only pay a copayment of $5 (25% of $20).

 8        34.    Rite Aid is well aware of both the definition of usual and customary, and
 9 how the "usual and customary" price of a particular prescription drug is ascertained.

10 Rite Aid owns its own PBM, EnvisionRxOptions ("EnvisionRx").               EnvisionRx
11 includes NCPDP Field No. 426-DQ, Usual and Customary Charge, as a mandatory

12 field that a pharmacy must fill out on its payor sheets.

13        35.    Further, EnvisionRx explicitly states in its Provider Portal Supplemental
14 Policies, Procedures, and Regulations manual that pharmacies "may not collect

15 copayments, coinsurances and deductibles that exceed your Pharmacy's [usual and

16 customary price]."

17 Big Box Retailers Exert Substantial Price Pressure on Generic Drugs

18        36.    In 2006, large "big box" retailers with pharmacy departments began
19 offering hundreds of generic prescription drugs at significantly reduced prices. For

20 example, in September 2006, Wal-Mart began charging $4 for a thirty-day supply and

21 $10 for a ninety-day supply of the most commonly prescribed generic drugs.          In
22 November of that same year, Target began charging $4 for a thirty-day supply and

23 $10 for a ninety-day supply of such prescription generic drugs. Other retailers with

24 pharmacy departments soon followed suit.

25        37.    Notably, in the wake of Wal-Mart's decision to substantially reduce the
26 prices of its prescription generic drugs, the Centers for Medicaid and Medicare
27 Services ("CMS") specifically stated that it would treat Wal-Mart's new lower prices

28 as the "usual and customary" prices for those drugs and use the prices as the basis for
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 1 paying claims for prescription drug benefits. Upon information and belief, Wal-Mart

 2 and Target properly reported to third-party payors these reduced prices as their "usual

 3 and customary" prices for the prescription generic drugs.

 4         38.   On information and belief, in 2008, in response to the big box retailers'
 5 decision to reduce the prices of many prescription generic drugs, Rite Aid started the

 6 discount drug RSP. Rite Aid does not charge individuals to join the RSP. Rather, the

 7 customer will simply provide information to Rite Aid, and, in exchange, Rite Aid,

 8 through the RSP, allows cash-paying customers to purchase prescription generic

 9 drugs on its formulary list for $9.99 for thirty-day prescriptions and $15.99 for

10 ninety-day prescriptions, with some limited exceptions. There are over 350 generic

11 drugs in various dosages on the formulary list and the list encompasses a number of

12 the most widely prescribed generic drugs.

13         39.   The RSP is not a special, limited, or one-time offer. It is also not a third-
14 party plan, insurance, or a substitute for insurance. Rather, Rite Aid has continuously

15 offered the RSP for multiple benefit years. Importantly, any cash-paying customer

16 can join the RSP and avail themselves of the discounted prices. However, as stated

17 previously, Rite Aid does not advertise the RSP in its pharmacies, including at the

18 point of purchase, and further, its pharmacists do not advise customers using
19 insurance that the drug being purchased may be cheaper through the RSP.

20         40.   Accordingly, the price for prescription generic drugs that those enrolled
21 in the RSP pay is the price that Rite Aid charges its customers (i.e., the general

22 public). The CMS Manual notes that "where a pharmacy offers a lower price to its

23 customers throughout a benefit year" the lower price is considered the "usual and

24 customary" price, rather than a one time "lower cash price," when a customer uses a
                                         7
25 discount card to make the purchase.

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     7
27    Centers for Medicare & Medicaid Servs., Medicare Prescription Drug Benefit
     Manual, Ch. 14-Coordination of Benefits, at 19 n.1 (2006), https://perma.cc/MW6A-
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 1           41.   Accordingly, the RSP Prices are the "usual and customary" prices for the
 2 prescription generic drugs on Rite Aid's RSP formulary. Rite Aid's own explanation

 3 of the "usual and customary" price, as adopted by EnvisionsRx, mandates this

 4 determination.     So too does the NCPDP and California's Welfare and Institutions
 5 Code.      And as mentioned above, the Seventh Circuit agrees, explaining that the
 6 "'usual and customary' price requirement should not be frustrated by so flimsy a

 7 devise as [a pharmacy's] 'discount program[].'" Kmart, 824 F.3d at 645.

 8             A SPECIAL RELATIONSHIP EXISTS BETWEEN RITE AID
 9                        AND MEMBERS OF THE CLASS
10           42.   The relationship between a pharmacy and its customers is unique,
11 special, and important. Pharmacists, including those at Rite Aid, do more than just

12 dispense medicine.       Pharmacists discuss with customers how they should take
13 medications, counsel customers on the use of medicine (whether over-the-counter or

14 prescription), and advise customers on general health topics, such as diet and

15 exercise. Trust is an essential component of the relationship between a pharmacist

16 and a customer. For instance, a customer needs to trust a pharmacist that a generic

17 drug is just as effective as its brand-name counterpart. Indeed, customers have come

18 to expect such advice, and further, that pharmacists will provide them with ways to
19 save money, such as using generics when available, without prompting.

20           43.   Rite Aid has acknowledged this special relationship. For instance, in a
21 September 2007 article in Pharmacy Times, Michele Belsey, Vice President of

22 College and Professional Recruitment at Rite Aid, stated when discussing

23 pharmacists Rite Aid hires, "[w]e want them placed in a position where they can get

24 to know the store and get to know the customers. The relationship between patient

25 and pharmacist is very important."

26           44.   Rite Aid highlights this special relationship in its marketing.     For
27
     H4P6.
28
                                              - 13 -
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 1 example, on its website, Rite Aid states:

 2        What makes Rite Aid pharmacists unique? For starters, they
          understand the importance of providing you with personalized care.
 3
          Not only have our pharmacists received the extensive education
 4        necessary to meet state licensing requirements, all our pharmacists are
          certified to provide immunizations. But it's their daily interactions
 5
          with customers like you that matter most. All customers can securely
 6        email questions directly to a Rite Aid pharmacist."
 7        45.   Rite Aid even affirmatively represents to customers that they can rely on
 8 its pharmacists to "help [them] save money."

 9        46.   And Rite Aid encourages customers to develop this special relationship
10 with its pharmacists, stating: "The better your relationship with your pharmacist, the

11 better they can serve you—so stop by your local Rite Aid and get to know your

12 pharmacist today."

13                 RITE AID ILLEGALLY INFLATES ITS "USUAL
14                         AND CUSTOMARY" PRICE
15        47.   Although Rite Aid sought to retain and attract cash-paying customers by
16 offering discounted prices on prescription generic drugs through the implementation

17 of the RSP, it did not want to lose revenues by offering those same discounted prices

18 to customers using insurance to make their prescription drug purchases.
19        48.   Thus, under the guise that its RSP was not available to the general
20 public, Rite Aid unlawfully continued to report its previous higher "usual and

21 customary" prices to third-party payors. By reporting the artificially inflated "usual

22 and customary" prices to third-party payors, Rite Aid was able to collect artificially

23 inflated copayments from consumers, as well as artificially inflated residual amounts

24 from third-party payors.

25        49.   Rite Aid knew that third-party payors calculate the price for prescription
26 drugs to be paid to the pharmacy based on whether the "usual and customary" price
27 submitted is less than or greater than the negotiated price between Rite Aid and the

28 third-party payor. Rite Aid also knew that if the "usual and customary" price for a
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 1 particular prescription drug is less than the negotiated price, Rite Aid could not

 2 charge third-party payors a drug price that was greater than the "usual and customary"

 3 price. Rite Aid's knowledge of these facts cannot be denied given its ownership of

 4 EnvisionsRx, who dealt extensively with this issue as Rite Aid's PBM.

 5        50.    Notwithstanding the knowledge garnered through its relationship with
 6 EnvisionsRx, Rite Aid knew the prices it could charge to customers using insurance

 7 to purchase their prescription medications from its dealings and contractual

 8 relationships with the third-party payors itself. Indeed, third-party payors' pharmacy

 9 agreements and manuals state, in detail, how a plan participant's copayment is

10 determined.    These agreements and manuals specifically contemplate a situation
11 where the "usual and customary" price is less than the negotiated amount, and

12 explicitly forbid Rite Aid from charging a copayment in excess of the "usual and

13 customary" price under such circumstances.        Rite Aid is in possession of these
14 documents and is aware of their contents. Further, Rite Aid's own transaction data

15 contains reimbursements adjudicated under the above formula and other rules

16 imposed by the third-party payors, all which reflect general industry standards.

17        51.    Moreover, Rite Aid need look no further than to its direct competitors,
18 such as Wal-Mart, Target, and Costco, who all, on information and belief, correctly
19 report the discounted prices offered through their respective prescription drug savings

20 programs as their "usual and customary" prices.

21        52.    Rite Aid tried to avoid complying with its contractual obligations and
22 accepted industry standards (not to mention federal and state law) by implementing

23 the RSP, and instead of reporting the lower RSP Prices to third-party payors,

24 knowingly and intentionally reported false and inflated "usual and customary" prices.

25 In doing so, Rite Aid created a new category of cash-paying customers—those

26 purchasing prescription generic medications through the RSP—while avoiding the
27 lowering of drug prices charged to third-party payors and their plan participants.

28        53.    As previously explained, however, the RSP Prices for the cash-paying
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 1 customers are the actual "usual and customary" prices charged by Rite Aid for the

 2 prescription generic drugs on the RSP formulary. Nonetheless, Rite Aid conceals the

 3 RSP Prices from third-party payors, and instead of submitting the RSP Prices as its

 4 "usual and customary," continues to submit the higher prices as its purported "usual

 5 and customary" to third-party payors.

 6        54.    Rite Aid's scheme is made possible because third-party payors are not
 7 privy to the prices Rite Aid charges its cash-paying customers, including those using

 8 the RSP to purchase their prescription generic drugs. Thus, third-party payors have

 9 no way of determining on their own whether the price Rite Aid submits as its "usual

10 and customary" price is actually the price charged to cash-paying members of the

11 general public, and therefore, are unaware that the price being submitted by Rite Aid

12 is not the actual "usual and customary" price, but rather an artificially inflated

13 amount.

14        55.    In failing to report the more common RSP Prices as its "usual and
15 customary" prices, Rite Aid continues to report prices that are significantly higher

16 than the prices it charges the general public.

17        56.    Beginning in late 2008, and continuing through the present, Rite Aid has
18 reported to third-party payors artificially inflated "usual and customary" prices for the
19 same prescription generic drugs that Rite Aid offers for lower prices under the RSP.

20 Rite Aid has thereby caused (and continues to cause) plan participants (including

21 Plaintiff and other Class members) to pay false and inflated copayments for

22 prescription generic drugs.

23        57.    Importantly, the inflated "usual and customary" prices that Rite Aid
24 reports to third-party payors do not vary based on any particular third-party plan. In

25 fact, for the same strength and quantity of a given drug, Rite Aid reports the same

26 "usual and customary" prices to all third-party payors, despite any variations in their
27 respective plans.

28        58.    As part of its scheme, Rite Aid has reported "usual and customary"
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 1 prices for generic prescription drugs that more than double the "usual and customary"

 2 prices reported by some of its most significant competitors and its own RSP Prices.

 3 The table below shows "usual and customary" prices submitted to California's

 4 Medicaid program for the purposes of claims adjudication:

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17        59.   As demonstrated above, the "usual and customary" prices submitted by
18 Rite Aid to third-party payors are undeniably, and unlawfully, inflated.
19        60.   But, since the RSP Prices are, in fact, the "usual and customary" prices
20 Rite Aid charges, Plaintiff and the other members of the Class should have also

21 received these reduced prices when purchasing the prescription generic drugs at issue.

22        61.   Rite Aid does not inform customers who use their insurance benefits to
23 purchase generic prescription drugs (including Plaintiff and the other members of the

24 Class) that, for the drugs, the RSP Prices Rite Aid charges cash-paying customers, are

25 lower than the copayments Rite Aid charges. Rite Aid either wrongly conceals or

26 omits such information by failing to tell customers using insurance about the RSP, or
27 by misrepresenting to those customers that the RSP would not apply to their

28 purchases.
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 1        62.    For instances where the copayment charged to a customer was lower
 2 than the RSP price for the same drug, customers were unaware, and incapable of

 3 ascertaining, that their copayment would have been lower but for Rite Aid's practice

 4 of illegally submitting inflated "usual and customary" prices to third-party payors.

 5        63.    On information and belief, there have been millions of instances where
 6 Rite Aid intentionally submitted fraudulently inflated "usual and customary" pricing

 7 information to third-party payors in connection with prescription generic drug

 8 purchases made by Plaintiff and other members of the Class during the Class Period

 9 (as defined below), including the specific transactions by Plaintiff described herein.

10                                CLASS ALLEGATIONS
11        64.    Plaintiff brings this action pursuant to Rule 23(b)(3) of the Federal Rules of
12 Civil Procedure on behalf of himself and the following national Class and California

13 state Subclass:

14        CLASS
15        All persons or entities in the United States and its territories who,
16
          between January 2008 and the present ("Class Period"), paid for, in
          full or in part, a prescription generic drug included on the RSP
17        formulary and were insured for the purchase through a third-party
18        payor.

19        SUBCLASS
20        All persons or entities in the state of California who, during the Class
21        Period, paid for, in full or in part, a prescription generic drug included
          on the RSP formulary and were insured for the purchase through a third-
22        party payor.
23
          The national Class and California state Subclass are collectively referred
24        to as the "Classes."
25        65.    Excluded from the Classes are Rite Aid, its officers, and directors.
26        66.    The Classes consist of at least hundreds of thousands, and likely
27 millions, of individual Rite Aid customers, making joinder impractical, in satisfaction

28 of Federal Rule of Civil Procedure 23(a)(1). The exact size of the Classes, and the
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 1 identities of the individual members thereof, are ascertainable through Rite Aid's

 2 records, including, but not limited to, its billing and collection records.

 3        67.    The claims of Plaintiff are typical of the Classes. The claims of Plaintiff
 4 and the Classes are based on the same legal theories and arise from the same unlawful

 5 and willful conduct, resulting in the same injury to the Plaintiff and the Classes.

 6        68.    The Classes have a well-defined community of interest. Rite Aid has
 7 acted and failed to act on grounds generally applicable to the Plaintiff and the

 8 Classes, thus requiring the Court's imposition of uniform relief to ensure compatible

 9 standards of conduct toward the Classes.

10        69.    There are many questions of law and fact common to the claims of
11 Plaintiff and the Classes, and those questions predominate over any questions that

12 may affect only individual members of the Classes within the meaning of Rules

13 23(a)(2) and 23(b)(2) of the Federal Rules of Civil Procedure.

14        70.    Common questions of fact and law affecting members of the Classes
15 include, but are not limited to, the following:

16               (a)    whether Rite Aid artificially inflated the "usual and customary"
17 prices that it reported to third-party payors pursuant to the NCPDP reporting

18 standard;
19               (b)    whether Rite Aid omitted and concealed material facts from its
20 communications and disclosures with third-party payors and plan participants

21 regarding its pricing scheme;

22               (c)    whether Rite Aid has wrongfully overcharged and continues to
23 overcharge copayments to hundreds of thousands, and likely millions, of plan

24 participants (including Plaintiff and the Classes) who purchased a prescription

25 generic drug listed on Rite Aid's RSP formulary at its pharmacies around the country;

26               (d)    whether Rite Aid has engaged in unfair methods of competition,
27 unconscionable acts or practices, and unfair or deceptive acts and/or practices in

28 connection with the pricing and sale of prescription generic drugs;
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 1               (e)    whether, as a result of Rite Aid's misconduct, Plaintiff and the
 2 Classes have suffered damages, and, if so, the appropriate measure of damages to

 3 which they are entitled; and

 4               (f)    whether, as a result of Rite Aid's misconduct, Plaintiff and the
 5 Classes are entitled to injunctive, equitable, and/or other relief, and, if so, the nature

 6 of such relief.

 7        71.    Absent a class action, most of the members of the Classes would find the
 8 cost of litigating their claims to be prohibitive and will have no effective remedy.

 9 The class treatment of common questions of law and fact is also superior to multiple

10 individual actions or piecemeal litigation in that it conserves the resources of the

11 courts and the litigants and promotes consistency and efficiency of adjudication.

12        72.    Plaintiff will fairly and adequately represent and protect the interests of
13 the Classes. Plaintiff has retained counsel with substantial experience in prosecuting

14 complex litigation and class actions.      Plaintiff and his counsel are committed to
15 vigorously prosecuting this action on behalf of the other respective members of the

16 Classes, and have the financial resources to do so. Neither Plaintiff nor his counsel

17 has any interests adverse to those of the other members of the Classes.

18                   TOLLING OF THE STATUTE OF LIMITATIONS
19        73.    Plaintiff and the other members of the Classes had neither actual nor
20 constructive knowledge of the facts constituting their claims for relief until recently.

21        74.    As explained previously, Plaintiff and the other members of the Classes
22 did not discover, and could not have discovered through the exercise of reasonable

23 diligence, the existence of the unlawful conduct alleged herein until recently.

24        75.    Rite Aid engaged in a secret scheme that did not reveal facts that would
25 have put Plaintiff or the other members of the Classes on inquiry notice that Rite Aid

26 was charging inflated prices for prescription generic drugs.
27        76.    Because Rite Aid's scheme was kept secret, Plaintiff and the other
28 members of the Classes were unaware of Rite Aid's unlawful conduct alleged herein
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 1 and did not know that they were paying artificially inflated prices for prescription

 2 generic drugs during the Class Period.

 3        77.   Rite Aid actively concealed its RSP prescription generic drug pricing
 4 scheme from the public, including Plaintiff and the other members of the Classes (and

 5 third-party payors), and failed to disclose the material fact that the prices Rite Aid

 6 reported to third-party payors for the prescription generic drugs included on the RSP

 7 formulary were far higher than the RSP Prices, and thus, not the actual "usual and

 8 customary" prices for those drugs. Rite Aid charged Plaintiff and the other members

 9 of the Classes copayments for the drugs they purchased that reflected Rite Aid's

10 artificially inflated "usual and customary" prices. Rite Aid also failed to post drug

11 prices in a clear manner and in a way that would alert Plaintiff and the other members

12 of the Classes to the artificially inflated prices charged by Rite Aid. Through its

13 actions, Rite Aid misled Plaintiff and the other members of the Classes and caused

14 them to pay to Rite Aid inflated copayments for some of the most commonly

15 prescribed generic drugs.

16        78.   Rite Aid's affirmative acts alleged herein, including acts in furtherance
17 of its unlawful scheme, were wrongfully concealed and carried out in a manner that

18 precluded detection.
19        79.   Rite Aid's unlawful pricing scheme was inherently self-concealing
20 because it involved misrepresenting and falsely reporting the "usual and customary"

21 prices for some of the most commonly prescribed generic drugs. If Rite Aid had been

22 open and notorious about its deceptive and unfair fraudulent pricing scheme, it would

23 never have succeeded.

24        80.   Plaintiff and the other members of the Classes could not have discovered
25 the alleged unlawful activities at an earlier date by the exercise of reasonable

26 diligence because Rite Aid employed deceptive practices and techniques of secrecy to
27 avoid detection of its activities. Rite Aid concealed its activities by various means

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 1 and methods, including affirmative misrepresentations regarding the actual "usual and

 2 customary" prices it charged for prescription generic drugs.

 3        81.    Because Rite Aid affirmatively concealed its scheme, Plaintiff and the
 4 other members of the Classes had no knowledge until recently of the alleged unlawful

 5 activities or information which would have caused a reasonably diligent person to

 6 investigate whether Rite Aid committed the actionable activities detailed herein.

 7        82.    As a result of Rite Aid's active concealment, the running of any statute
 8 of limitations has been tolled with respect to any claims that Plaintiff and the other

 9 members of the Classes have as a result of the unlawful conduct alleged in this

10 amended complaint.

11        83.      Regardless, Rite Aid's illegal scheme is continuous and the pharmacy
12 violates the law each time it charges inflated copayments to both new and repeat

13 customers.

14                                         COUNT I
15       Against Defendant Rite Aid, on Behalf of the Subclass, for Violation of
                         California Unfair Competition Law
16

17        84.    Plaintiff incorporates by reference and realleges each and every
18 allegation contained above, as though fully set forth herein.
19        85.    Plaintiff brings this claim individually and on behalf of the members of
20 the Subclass.

21        86.    Plaintiff and other members of the Subclass are "persons" within the
22 meaning of California Business and Professions Code section 17204.

23        87.    Rite Aid has unfairly obtained monies from Plaintiff and the other
24 members of the Subclass through Rite Aid's: (i) unlawful business acts and/or

25 practices; (ii) unfair business acts and/or practices; and (iii) unfair, deceptive, untrue

26 and/or misleading advertising (including violations of California Business and
27 Professions Code section 17500, et. seq.), including, among other things:

28               (a)    reporting to insurance companies, and state and federal health
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 1 care entities fraudulent "usual and customary" prices for hundreds of generic

 2 prescription drugs;

 3               (b)     misrepresenting to insurance companies and state and federal
 4 health care entities, Plaintiff, and the Subclass that the "usual and customary" price

 5 was greater than their copayments;

 6               (c)     concealing from Plaintiff and the Subclass the true "usual and
 7 customary" prices of generic prescription drugs; and

 8               (d)     wrongfully obtaining monies from Plaintiff and the Subclass as a
 9 result of Rite Aid's deception.

10        88.    Rite Aid willfully engaged in the unfair and/or deceptive acts and/or
11 practices described above and knew or should have known that those acts and/or

12 practices were unfair and/or deceptive.

13        89.    The facts which Rite Aid misrepresented and/or concealed, as alleged in
14 the preceding paragraphs, were material to Plaintiff and the Subclass' decisions about

15 whether to purchase generic prescription drugs from Rite Aid, in that Plaintiff and the

16 Subclass would not have purchased generic prescription drugs from Rite Aid for

17 more than the RSP Prices but for Rite Aid's unfair and/or deceptive acts and/or

18 practices.
19        90.    As a direct and proximate result of Rite Aid's unfair and deceptive acts
20 and/or practices, Plaintiff and the Subclass were deceived into paying falsely inflated

21 prices for generic prescription drugs and have been damaged thereby.

22        91.    Rite Aid is therefore liable to Plaintiff and the Subclass for the damages
23 they sustained, plus statutory damages, penalties, costs, and reasonable attorneys' fees

24 to the extent provided by law.

25                                        COUNT II
26              Against Defendant Rite Aid, on Behalf of the Subclass, for
                 Violation of California Consumer Legal Remedies Act
27

28        92.    Plaintiff incorporates by reference and realleges each and every
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 1 allegation contained above, as though fully set forth herein.

 2        93.    Plaintiff brings this claim individually and on behalf of the members of
 3 the Subclass.

 4        94.    Plaintiff and other members of the Subclass are "consumers" within the
 5 meaning of California Civil Code section 1761(d).

 6        95.    The generic prescription drugs that Plaintiff and other members of the
 7 Subclass purchased from Rite Aid are "goods" within the meaning of California Civil

 8 Code section 1761(a).

 9        96.    Plaintiff and the other members of the Subclass' purchases were
10 "transactions" within the meaning of California Civil Code section 1761(e).

11        97.    Rite Aid is a "person" within the meaning of California Civil Code
12 section 1770(a).

13        98.    Plaintiff and the other members of the Subclass have been damaged by
14 Rite Aid's unfair methods of competition, and/or unfair and/or deceptive practices, in

15 violation of California Civil Code section 1770(a), et. seq., which occurred in

16 connection with transactions which resulted in Plaintiff and the other members of the

17 Subclass' purchase of goods.      These unfair methods of competition, and/or unfair
18 and/or deceptive practices, included, among other things:
19               (a)     reporting to insurance companies and state and federal health
20 care entities fraudulent "usual and customary" prices for hundreds of generic

21 prescription drugs;

22               (b)     misrepresenting to insurance companies, state and federal health
23 care entities, Plaintiff, and the Subclass that the "usual and customary" price was

24 greater than their copayments;

25               (c)     concealing from Plaintiff and the Subclass the true "usual and
26 customary" prices of generic prescription drugs; and
27               (d)     wrongfully obtaining monies from Plaintiff and the Subclass as a
28 result of Rite Aid's deception.
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 1         99.   Rite Aid willfully engaged in the unfair and/or deceptive acts and/or
 2 practices described above and knew or should have known that those acts and/or

 3 practices were unfair and/or deceptive.

 4         100. Pursuant to section 1782 of the California Consumer Legal Remedies
 5 Act ("CLRA"), on June 15, 2017, Plaintiff sent Rite Aid in writing by certified mail

 6 notification of the particular violations of CLRA section 1770 described above and

 7 requested that Rite Aid rectifies its practices described above and give notice to all

 8 affected consumers of its intent to so act. Rite Aid received the notice on June 19,

 9 2017.

10         101. Rite Aid failed to provide appropriate relief for its violations of CLRA
11 sections 1770(a)(5), (7), (9), and (16) within thirty days of receipt of Plaintiff's

12 notifications.   In accordance with CLRA section 1782(b), Plaintiff and the Subclass
13 are entitled, under CLRA section 1780, to recover and obtain the following relief for

14 Rite Aid's violations of CLRA sections 1770(a)(5), (7), (9), and (16):

15               (a)   actual damages under CLRA section 1780(a)(1);
16               (b)   restitution of property under CLRA section 1780(a)(3);
17               (c)   punitive damages under CLRA section 1780(a)(4) because Rite Aid
18 has engaged in fraud, malice or oppression; and
19               (d)   any other relief the Court deems proper under CLRA section
20 1780(a)(5).

21         102. Plaintiff seeks an award of attorneys' fees pursuant to, inter alia, CLRA
22 section 1780(e) and California Code of Civil Procedure section 1021.5.

23         103. The facts which Rite Aid misrepresented and/or concealed, as alleged in
24 the preceding paragraphs, were material to Plaintiff and the Subclass' decisions about

25 whether to purchase generic prescription drugs from Rite Aid, in that Plaintiff and the

26 Subclass would not have purchased generic prescription drugs from Rite Aid for
27 more than the RSP Prices but for Rite Aid's unfair and/or deceptive acts and/or

28 practices.
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 1        104. As a direct and proximate result of Rite Aid's acts described above,
 2 Plaintiff and the other members of the Subclass paid more for Rite Aid's products

 3 than they would have and/or purchased products they would not have purchased but

 4 for Rite Aid's deceptive conduct. Plaintiff and the other members of the Subclass

 5 therefore seek injunctive relief pursuant to CLRA section 1782(d), to enjoin Rite

 6 Aid's ongoing wrongful acts described herein.

 7                                        COUNT III
 8           Against Defendant Rite Aid, on Behalf of the Class and Subclass,
 9                              for Unjust Enrichment
10        105. Plaintiff incorporates by reference and realleges each and every
11 allegation contained above, as though fully set forth herein.

12        106. By means of Rite Aid's wrongful conduct alleged herein, Rite Aid
13 knowingly charges plan participants artificially high copayments for generic

14 prescription drugs included in the RSP in a manner that is unfair and unconscionable.

15        107. Rite Aid knowingly received and retained wrongful benefits and funds
16 from Plaintiff, the Class, and Subclass. In so doing, Rite Aid acted with conscious

17 disregard for the rights of Plaintiff, the Class, and Subclass.

18        108. As a result of Rite Aid's wrongful conduct as alleged herein, Rite Aid
19 has been unjustly enriched at the expense of, and to the detriment of Plaintiff, the

20 Class, and Subclass.

21        109. Rite Aid's unjust enrichment is traceable to, and resulted directly and
22 proximately from, the conduct alleged herein.

23        110. Under the common law doctrine of unjust enrichment, it is inequitable
24 for Rite Aid to be permitted to retain the benefits it received, and is still receiving,

25 without justification, from the imposition of artificially inflated prices on Plaintiff,

26 the Class, and Subclass in an unfair and unconscionable manner. Rite Aid's retention
27 of such funds under circumstances making it inequitable to do so constitutes unjust

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 1 enrichment.

 2         111. Plaintiff, the Class, and Subclass did not confer these benefits officiously
 3 or gratuitously, and it would be inequitable and unjust for Rite Aid to retain these

 4 wrongfully obtained proceeds.

 5
           112. Rite Aid is therefore liable to Plaintiff, the Class, and Subclass for
 6
     restitution in the amount of Rite Aid's wrongfully obtained profits.
 7
                                          COUNT IV
 8

 9
                   Against Defendant Rite Aid, on Behalf of the Class and
                         Subclass, for Negligent Misrepresentation
10
           113. Plaintiff incorporates by reference and realleges each and every
11
     allegation contained above, as though fully set forth herein.
12
           114. Under the circumstances alleged, Rite Aid owed a duty to Plaintiff, the
13
     Class, and Subclass to provide them with accurate information regarding the prices of
14
     its generic prescription drugs.
15
           115. Rite Aid misrepresented and/or concealed the true "usual and
16
     customary" prices of generic prescription drugs that are included in the RSP. Rite
17
     Aid made such misrepresentations by reporting artificially inflated "usual and
18
     customary" prices for such drugs to third-party payors.
19
           116. Rite Aid had no reasonable grounds to believe that these
20
     misrepresentations and/or omissions were true. The prices that Rite Aid reported to
21
     third-party payors were substantially (and unjustifiably) higher than the prices it
22
     charged under its RSP to cash-paying customers.
23
           117. Rite Aid intended to induce Plaintiff, the Class, and Subclass to rely on
24
     its misrepresentations and/or omissions. Rite Aid knew that Plaintiff, the Class, and
25
     Subclass would rely on its misrepresentations and/or omissions regarding "usual and
26
     customary" prices and, as a result, would pay copayments higher than the actual
27
     "usual and customary" prices for those generic prescription drugs.
28
                                              - 27 -
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 1        118. Plaintiff, the Class, and Subclass justifiably relied upon Rite Aid's
 2 misrepresentations and/or omissions in that Plaintiff, the Class, and Subclass would

 3 not have purchased generic prescription drugs from Rite Aid for more than the RSP

 4 Prices but for Rite Aid's misrepresentations and/or omissions. Plaintiff, the Class,

 5 and Subclass' reliance on Rite Aid's misrepresentations and/or omissions was, thus, to

 6 their detriment.

 7        119. As a proximate result of Rite Aid's negligent conduct, Plaintiff, the
 8 Class, and Subclass have been damaged because they paid copayments for generic

 9 prescription drugs that were far higher than the prices they would have paid but for

10 Rite Aid's misconduct.

11        120. Rite Aid is therefore liable to Plaintiff, the Class, and Subclass for the
12 damages they sustained.

13                                PRAYER FOR RELIEF
14        WHEREFORE, Plaintiff prays for judgment against Rite Aid, and requests as
15 follows:

16        A.     That all Class members are owed at least the difference between their
17 paid copayments and the "usual and customary" price offered to the general public for

18 all prescriptions purchased during the life of the RSP;
19        B.     That the Court certify this action as a class action, proper and
20 maintainable pursuant to Rule 23 of the Federal Rules of Civil Procedure, and

21 declare that Plaintiff is a proper Class representative;

22        C.     That the Court award compensatory, consequential, and general damages
23 in an amount to be determined at trial, including under CLRA section 1780(a)(1);

24        D.     That the Court grant permanent injunctive relief to prohibit Rite Aid
25 from continuing to engage in the unlawful acts, omissions, and practices described

26 herein, including under CLRA section 1780(a)(2);
27        E.     That the Court order disgorgement and restitution of all earnings, profits,
28 compensation, and benefits received by Rite Aid as a result of its unlawful acts,
                                             - 28 -
                                                        Case No: 3:17-cv-01340-AJB-JLB
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 1 omissions, and practices, including under CLRA section 1780(a)(3);

 2        F.     That the Court award statutory treble damages, and punitive or
 3 exemplary damages, to the extent permitted by law, including under CLRA section

 4 1780(a)(4);

 5        G.     That the unlawful acts alleged in this amended complaint be adjudged
 6 and decreed to be a violation of the unfair and deceptive business acts and practices in

 7 violation of the California Unfair Competition Law and CLRA;

 8        H.     That the Court award to Plaintiff the costs and disbursements of the
 9 action, along with reasonable attorneys' fees, including under CLRA section 1780(e);

10        I.     That the Court award pre- and post-judgment interest at the maximum
11 legal rate; and

12        J.     That the Court grant all such other relief as it deems just and proper,
13 including under CLRA section 1780(a)(5).

14                                    JURY DEMAND
15        Plaintiff hereby demands a trial by jury on all issues so triable.
16

17 Dated: January 9, 2018                        ROBBINS ARROYO LLP
                                                 GEORGE C. AGUILAR
18                                               GREGORY E. DEL GAIZO
                                                 STEVEN M. MCKANY
19

20                                                       /s/ Gregory E. Del Gaizo
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                                                 DAVID W. MITCHELL
28                                               BRIAN O. O'MARA
                                             - 29 -
                                                        Case No: 3:17-cv-01340-AJB-JLB
Case 3:17-cv-01340-AJB-JLB Document 30 Filed 01/09/18 PageID.262 Page 31 of 46



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     1193312
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                                        - 30 -
                                                  Case No: 3:17-cv-01340-AJB-JLB
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 1                            CERTIFICATE OF SERVICE
 2        I hereby certify that on January 9, 2018, I electronically filed the foregoing
 3 with the Clerk of the Court using the CM/ECF system which will send notification of

 4 such filing to the e-mail addresses denoted on the Electronic Mail Notice List.

 5

 6
                                          /s/ Gregory E. Del Gaizo
                                          GREGORY E. DEL GAIZO
 7                                        ROBBINS ARROYO LLP
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                                            - 31 -
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              Byron Stafford, Individually and on Behalf of All Others
                    Similarly Situated v. Rite Aid Corporation

                     Second Amended Class Action Complaint
                                    Exhibit List
   Exhibit:   Description                                                Page Nos.:
      A       Rite Aid Corporation Rx Savings Program (cited             1-12
              statement highlighted)
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                       EXHIBIT A
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                 Weekly Ad (https://www.riteaid.com//savings/weekly-ad)                  (https://locations.riteaid.com/locations/search.html)                  My Cart (0)
                 Log In (https://www.riteaid.com/shop/sso/)

                                                                 Search


             (https://www.riteaid.com/)
               Pharmacy
                View Subpages




               Rx Savings Program
               Save 15% or more on thousands of brand name and generic prescription drugs1 by signing up for the Rite Aid Rx Savings Program. When you sign up,
               you’ll receive Rx Savings Card that gives you access to special discounts at Rite Aid pharmacy, including:

                       Savings of at least 15% on select brand name prescriptions1
                       A 30-day supply of select generics for $9.99 and a 90-day supply for $15.991
                       Select generic oral contraceptives for $19.99
                       A 50-count of Rite Aid TRUEmetrix diabetic test strips for $17.99

               To find out which generic medications are covered by the Rite Aid Rx Savings Program, please download the complete generic drug list
               (https://www.riteaid.com/shop/info/pharmacy/prescription-savings/rite-aid-prescription-savings-program/directory-of-generic-medications).

               This program may be especially helpful if you don’t have insurance or your insurance doesn’t cover all of your prescriptions.

               Speak with your local pharmacist to sign up.

                 Find a Store (https://www.riteaid.com/store-locator)




               1. Limitations apply. See complete Rx Savings Program terms & conditions (https://www.riteaid.com/shop/info/pharmacy/prescription-savings/rite-aid-
               prescription-savings-program/terms-and-conditions).




             At Rite Aid, we provide you with the support, products, pharmacy services, and the wellness+ rewards savings
             opportunities you need to keep your whole family healthy. With us, it's personal.




             About Us (https://www.riteaid.com/about-us)

             Customer Care (https://www.riteaid.com/customer-support)

             Online Shop

             Site Help (https://www.riteaid.com/faq)

             Corporate Info (https://www.riteaid.com/corporate)

             Legal Information (https://www.riteaid.com/legal)




                                                                         (https://www.safe.pharmacy/)




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Live Chat



                                                                                                                                          Exhibit A - Page 1
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                              Weekly Ad (https://www.riteaid.com//savings/weekly-ad)       (https://locations.riteaid.com/locations/search.html)   Log In (https://www.riteaid.com/shop/sso/)   My Cart (0)

                                                   Search

 (https://www.riteaid.com/)




                                                                         rx savings program




                                 DIRECTORY OF GENERIC MEDICATIONS

                                  ELIGIBLE FOR RX
                                 SAVINGS PROGRAM
                                   $9.99 for a 30-day supply
                                    and $15.99 for a 90-day
                                            supply
                                     If you already enrolled in the FREE* Rx Savings Program, use this guide to nd your best
                                           choices. And, if you aren’t, you’ll nd hundreds of reasons below to join today.




                                                                                       LAST UPDATED 10/6/2017



          DISCOUNT ONLY – NOT INSURANCE. This discount program is NOT a health insurance policy or a Medicare prescription drug plan and is
          not intended as a substitute for insurance. The program only provides for discounts on health services from participating Rite Aid
          pharmacies, and the range of discounts will vary depending on the type of provider and the health services received. The program does
          not make payments to providers of health care services. Members are required to pay for all health care services, but will receive a
          discount from contracted providers. You may cancel your registration under the Rite Aid Rx Savings Program at any time by contacting 1-
          844-550-6822
          This program is administered by Rite Aid’s delegated Administrator. Rite Aid and Administrator shall have access to and use your
          prescription drug data to administer the program. Your authorization is required to participate in the program. By signing the Authorization
          (available in stores), you agree to participate in the program and acknowledge and agree to such access and use by Rite Aid and
          Administrator. The Authorization signi es your permission authorizing Rite Aid and Administrator to use and/or disclose your medical
          information as described above.
          Rite Aid reserves the right to modify or discontinue this program at any time at its sole discretion. You can view our complete Privacy Policy
          on our website at www.riteaid.com/legal/privacy-policy.
                                                                                                                                                                    Exhibit A - Page 2
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    Certain limitations apply, including covered generic drugs. A complete list of eligible medications can be found at www.riteaid.com/rxsavings.
    See pharmacy for details. No enrollment fee. Nominal processing fee may apply. The days supply is based upon the average dispensing
    patterns for the speci c drug and strength. The program, as well as the prices and the list of covered drugs, can be modi ed by Rite Aid at any
    time without notice at its sole discretion. Prescriptions paid for in whole or in part by publicly funded health care programs are ineligible. Any
    prescriptions covered in whole or in part by private or any publicly funded insurance like Medicaid or Medicare will be processed through
    that insurance unless the patient speci cally requests that the prescription be processed through the Rx Savings Program. There is no
    secondary coverage or coordination of bene ts for prescriptions lled under the Rx Savings Program.
    The RX Savings Program is a discount only program. The use of the program does not transmit the cost of the prescription to any other
    insurance, including a customer’s Medicare Part D true out of pocket (“TrOOP”) amount. Thus, if a patient with Medicare Part D coverage
    elects to use the RX Savings Program while the customer is in the coverage gap with respect to their Medicare Part D coverage, any
    payments made for RX Savings Program claims will not count toward the customer’s TrOOP unless the customer transmits their receipt to
    their Medicare drug plan.




                       Rx Savings Program Generic Medications
                                              Rx Savings Program Generic Medications
                                                                                                     $9.99 30 Day             $15.99 90 Day
     List Name                                        Category
                                                                                                     Max Qty                  Max Qty

     ACYCLOVIR 200 MG CAP                             VIRUSES                                        30.00                    90.00

     ACYCLOVIR 400 MG TAB                             VIRUSES                                        30.00                    90.00

     ACYCLOVIR 800 MG TAB                             VIRUSES                                        30.00                    90.00

     ALBUTEROL 0.83 MG/ML SOL                         ASTHMA                                         75.00                    225.00

     ALBUTEROL 5 MG/ML SOL                            ASTHMA                                         20.00                    60.00

     ALBUTEROL SULF 2 MG/5 ML SYR                     ASTHMA                                         120.00                   360.00

     ALLOPURINOL 100 MG TAB                           ARTHRITIS & PAIN                               30.00                    90.00

     ALLOPURINOL 300 MG TAB                           ARTHRITIS & PAIN                               30.00                    90.00

     AMILORIDE HCL/HCTZ 5/50 TAB                      HEART HEALTH & BLOOD PRESSURE                  30.00                    90.00

     AMITRIPTYLINE HCL 10 MG TAB                      MENTAL HEALTH                                  30.00                    90.00

     AMITRIPTYLINE HCL 100 MG TAB                     MENTAL HEALTH                                  30.00                    90.00

     AMITRIPTYLINE HCL 150 MG TAB                     MENTAL HEALTH                                  30.00                    90.00

     AMITRIPTYLINE HCL 25 MG TAB                      MENTAL HEALTH                                  30.00                    90.00

     AMITRIPTYLINE HCL 50 MG TAB                      MENTAL HEALTH                                  30.00                    90.00

     AMITRIPTYLINE HCL 75 MG TAB                      MENTAL HEALTH                                  30.00                    90.00

     AMLODIPINE BESYLATE 10 MG TAB                    HEART HEALTH & BLOOD PRESSURE                  30.00                    90.00

     AMLODIPINE BESYLATE 2.5 MG TAB                   HEART HEALTH & BLOOD PRESSURE                  30.00                    90.00

     AMLODIPINE BESYLATE 5 MG TAB                     HEART HEALTH & BLOOD PRESSURE                  30.00                    90.00

     AMOXICILLIN 125 MG/5 ML SUSP                     ANTIBIOTIC TREATMENT                           150.00                   450.00

     AMOXICILLIN 200 MG/5 ML SUSP                     ANTIBIOTIC TREATMENT                           100.00                   300.00

     AMOXICILLIN 250 MG CAP                           ANTIBIOTIC TREATMENT                           30.00                    90.00

     AMOXICILLIN 500 MG CAP                           ANTIBIOTIC TREATMENT                           30.00                    90.00

     AMOXICILLIN 875 MG TAB                           ANTIBIOTIC TREATMENT                           20.00                    60.00

     AMPICILLIN TR 250 MG CAP                         ANTIBIOTIC TREATMENT                           56.00                    168.00

     AMPICILLIN TR 500 MG CAP                         ANTIBIOTIC TREATMENT                           56.00                    168.00

     ATENOLOL 100 MG TAB                              HEART HEALTH & BLOOD PRESSURE                  30.00                    90.00

     ATENOLOL 25 MG TAB                               HEART HEALTH & BLOOD PRESSURE                  30.00                    90.00

     ATENOLOL 50 MG TAB                               HEART HEALTH & BLOOD PRESSURE                  30.00                    90.00

     ATROPINE 1% EYE DROPS                            GLAUCOMA & EYE CARE                            5.00                     15.00

     BACIT/POLYMYXIN B OPTH OINT                      GLAUCOMA & EYE CARE                            3.50                     10.50

     BACLOFEN 10 MG TAB                               ARTHRITIS & PAIN                               90.00                    270.00


                                                                                                                        Exhibit A - Page 3
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                                                                         $9.99 30 Day      $15.99 90 Day
     List Name                          Category
                                                                         Max Qty           Max Qty

     BACLOFEN 20 MG TAB                 ARTHRITIS & PAIN                 90.00             270.00

     BENAZEPRIL HCL 10 MG TAB           HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BENAZEPRIL HCL 20 MG TAB           HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BENAZEPRIL HCL 40 MG TAB           HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BENAZEPRIL HCL 5 MG TAB            HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BENZONATATE 100 MG CAP             ALLERGIES & COLD AND FLU         14.00             42.00

     BENZONATATE 200 MG CAP             ALLERGIES & COLD AND FLU         28.00             84.00

     BENZTROPINE MES 0.5 MG TAB         MENTAL HEALTH                    30.00             90.00

     BENZTROPINE MES 1 MG TAB           MENTAL HEALTH                    30.00             90.00

     BENZTROPINE MES 2 MG TAB           MENTAL HEALTH                    30.00             90.00

     BETAMETHASONE DP AUG 0.05% CRM     SKIN CONDITIONS                  50.00             150.00

     BETHANECHOL 10 MG TAB              OTHER MEDICAL CONDITIONS         60.00             180.00

     BETHANECHOL 25 MG TAB              OTHER MEDICAL CONDITIONS         90.00             270.00

     BETHANECHOL 5 MG TAB               OTHER MEDICAL CONDITIONS         90.00             270.00

     BISOPROLOL/HCTZ 10/6.25 TAB        HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BISOPROLOL/HCTZ 2.5/6.25 TAB       HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BISOPROLOL/HCTZ 5/6.25 TAB         HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BRIMONIDINE 0.2% DROPS             #N/A                             5.00              15.00

     BUMETANIDE 0.5 MG TAB              HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BUMETANIDE 1 MG TAB                HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     BUSPIRONE HCL 10 MG TAB            MENTAL HEALTH                    60.00             180.00

     BUSPIRONE HCL 15 MG TAB            MENTAL HEALTH                    60.00             180.00

     BUSPIRONE HCL 30 MG TAB            MENTAL HEALTH                    30.00             90.00

     BUSPIRONE HCL 5 MG TAB             MENTAL HEALTH                    60.00             180.00

     CAPTOPRIL 12.5 MG TAB              HEART HEALTH & BLOOD PRESSURE    60.00             180.00

     CAPTOPRIL 25 MG TAB                HEART HEALTH & BLOOD PRESSURE    60.00             180.00

     CARVEDILOL 12.5 MG TAB             HEART HEALTH & BLOOD PRESSURE    60.00             180.00

                                                                         $9.99 30 Day      $15.99 90 Day
     List Name                           Category
                                                                         Max Qty           Max Qty

     CARVEDILOL 25 MG TAB                HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     CARVEDILOL 3.125 MG TAB             HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     CARVEDILOL 6.25 MG TAB              HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     CEPHALEXIN 250 MG CAP               ANTIBIOTIC TREATMENT            28.00             84.00

     CEPHALEXIN 500 MG CAP               ANTIBIOTIC TREATMENT            30.00             90.00

     CHLORHEXIDINE GLUCONATE 12% SOLN    OTHER MEDICAL CONDITIONS        473.00            1419.00

     CICLOPIROX 0.77% CRM                SKIN CONDITIONS                 90.00             270.00

     CICLOPIROX 8% SOLUTION              SKIN CONDITIONS                 6.60              19.80

     CIMETIDINE 300 MG TAB               GASTROINTESTINAL HEALTH         30.00             90.00

     CIMETIDINE 400 MG TAB               GASTROINTESTINAL HEALTH         30.00             90.00

     CIMETIDINE 800 MG TAB               GASTROINTESTINAL HEALTH         30.00             90.00

     CIPROFLOXACIN 0.3% OPHTH SOL        GLAUCOMA & EYE CARE             5.00              15.00

     CIPROFLOXACIN HCL 250 MG TAB        ANTIBIOTIC TREATMENT            14.00             42.00

     CIPROFLOXACIN HCL 500 MG TAB        ANTIBIOTIC TREATMENT            20.00             60.00

                                                                                        Exhibit A - Page 4
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                                                                    $9.99 30 Day      $15.99 90 Day
     List Name                      Category
                                                                    Max Qty           Max Qty

     CITALOPRAM HBR 10 MG TAB       MENTAL HEALTH                   30.00             90.00

     CITALOPRAM HBR 20 MG TAB       MENTAL HEALTH                   30.00             90.00

     CITALOPRAM HBR 40 MG TAB       MENTAL HEALTH                   30.00             90.00

     CLOMIPHENE CITRATE 50 MG TAB   WOMAN’S HEALTH                  5.00              15.00

     CLONIDINE HCL 0.1 MG TAB       HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     CLONIDINE HCL 0.2 MG TAB       HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     CLONIDINE HCL 0.3 MG TAB       HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     CLOTRIMAZOLE 1% CREAM          SKIN CONDITIONS                 30.00             90.00

     CYCLOBENZAPRINE 10 MG TAB      ARTHRITIS & PAIN                30.00             90.00

     CYCLOBENZAPRINE 5 MG TAB       ARTHRITIS & PAIN                30.00             90.00

     CYTRA-2 SOL                    GASTROINTESTINAL HEALTH         473.00            1419.00

     DEXAMETHASONE 0.5 MG TAB       ARTHRITIS & PAIN                30.00             90.00

     DEXAMETHASONE 0.75 MG TAB      ARTHRITIS & PAIN                12.00             36.00

     DEXAMETHASONE 4 MG TAB         ARTHRITIS & PAIN                30.00             90.00

     DICLOFENAC 0.1% EYE DROPS      GLAUCOMA & EYE CARE             5.00              15.00

     DICLOFENAC POT 50 MG TAB       ARTHRITIS & PAIN                60.00             180.00

     DICLOFENAC SOD 100 MG TAB SA   ARTHRITIS & PAIN                30.00             90.00

     DICLOFENAC SOD 50 MG TAB EC    ARTHRITIS & PAIN                60.00             180.00

     DICLOFENAC SOD 75 MG TAB EC    ARTHRITIS & PAIN                60.00             180.00

     DICYCLOMINE 10 MG CAP          GASTROINTESTINAL HEALTH         90.00             270.00

     DICYCLOMINE 20 MG TAB          GASTROINTESTINAL HEALTH         60.00             180.00

     DIGOXIN 125 MCG TAB            HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     DIGOXIN 250 MCG TAB            HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     DILTIAZEM 120 MG TAB           HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     DILTIAZEM 30 MG TAB            HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     DILTIAZEM 60 MG TAB            HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     DILTIAZEM 90 MG TAB            HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     DIVALPROEX SOD DR 125 MG TAB   OTHER MEDICAL CONDITIONS        90.00             270.00

     DOXAZOSIN MESYLATE 1 MG TAB    HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     DOXAZOSIN MESYLATE 2 MG TAB    HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     DOXAZOSIN MESYLATE 4 MG TAB    HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     DOXAZOSIN MESYLATE 8 MG TAB    HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     DOXEPIN 10 MG CAP              MENTAL HEALTH                   30.00             90.00

     DOXEPIN 25 MG CAP              MENTAL HEALTH                   30.00             90.00

     ENALAPRIL MALEATE 10 MG TAB    HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     ENALAPRIL MALEATE 2.5 MG TAB   HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     ENALAPRIL MALEATE 20 MG TAB    HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     ENALAPRIL MALEATE 5 MG TAB     HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     ENALAPRIL/HCTZ 10-25MG TAB     HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     ENALAPRIL/HCTZ 5-12.5MG TAB    HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     ERYTHROMYCIN 2% GEL            SKIN CONDITIONS                 30.00             90.00

     ESTRADIOL 0.5 MG TAB           WOMAN’S HEALTH                  30.00             90.00


                                                                                   Exhibit A - Page 5
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                                                                    $9.99 30 Day      $15.99 90 Day
     List Name                      Category
                                                                    Max Qty           Max Qty

     ESTRADIOL 1 MG TAB             WOMAN’S HEALTH                  30.00             90.00

     ESTRADIOL 2 MG TAB             WOMAN’S HEALTH                  30.00             90.00

     FAMOTIDINE 20 MG TAB           GASTROINTESTINAL HEALTH         60.00             180.00

     FAMOTIDINE 40 MG TAB           GASTROINTESTINAL HEALTH         30.00             90.00

     FLUCONAZOLE 100 MG TAB         FUNGAL INFECTIONS               10.00             30.00

     FLUCONAZOLE 150 MG TAB         FUNGAL INFECTIONS               1.00              3.00

                                                                    $9.99 30 Day      $15.99 90 Day
     List Name                      Category
                                                                    Max Qty           Max Qty

     FLUOXETINE 20 MG CAP           MENTAL HEALTH                   30.00             90.00

     FLUOXETINE HCL 10 MG CAP       MENTAL HEALTH                   30.00             90.00

     FLUOXETINE HCL 40 MG CAP       MENTAL HEALTH                   30.00             90.00

     FLUPHENAZINE 1 MG TAB          MENTAL HEALTH                   30.00             90.00

     FLUPHENAZINE 10 MG TAB         MENTAL HEALTH                   30.00             90.00

     FLUPHENAZINE 2.5 MG TAB        MENTAL HEALTH                   30.00             90.00

     FLUPHENAZINE 5 MG TAB          MENTAL HEALTH                   30.00             90.00

     FLUTICASONE PROP 0.005% OINT   SKIN CONDITIONS                 30.00             90.00

     FLUTICASONE PROP 0.05% CRM     SKIN CONDITIONS                 60.00             180.00

     FOLIC ACID 1 MG TAB            VITAMINS & NUTRITIONAL HEALTH   30.00             90.00

     FUROSEMIDE 20 MG TAB           HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     FUROSEMIDE 40 MG TAB           HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     FUROSEMIDE 80 MG TAB           HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     GENTAMICIN 3 MG/ML EYE DROPS   GLAUCOMA & EYE CARE             5.00              15.00

     GLIMEPIRIDE 1 MG TAB           DIABETES                        30.00             90.00

     GLIMEPIRIDE 2 MG TAB           DIABETES                        30.00             90.00

     GLIMEPIRIDE 4 MG TAB           DIABETES                        30.00             90.00

     GLIPIZIDE 10 MG TAB            DIABETES                        60.00             180.00

     GLIPIZIDE 5 MG TAB             DIABETES                        30.00             90.00

     GLIPIZIDE XL 10 MG TAB         DIABETES                        30.00             90.00

     GLIPIZIDE XL 2.5 MG TAB        DIABETES                        30.00             90.00

     GLIPIZIDE XL 5 MG TAB          DIABETES                        30.00             90.00

     GLYBURIDE 2.5 MG TAB           DIABETES                        30.00             90.00

     GLYBURIDE 5 MG TAB             DIABETES                        30.00             90.00

     GLYBURIDE MICRO 1.5 MG TAB     DIABETES                        30.00             90.00

     GLYBURIDE MICRO 3 MG TAB       DIABETES                        30.00             90.00

     GLYBURIDE MICRO 6 MG TAB       DIABETES                        30.00             90.00

     GUANFACINE 1 MG TAB            HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     GUANFACINE 2 MG TAB            HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     HALOPERIDOL 0.5 MG TAB         MENTAL HEALTH                   30.00             90.00

     HALOPERIDOL 1 MG TAB           MENTAL HEALTH                   30.00             90.00

     HALOPERIDOL 2 MG TAB           MENTAL HEALTH                   30.00             90.00

     HALOPERIDOL 5 MG TAB           MENTAL HEALTH                   30.00             90.00

     HYDRALAZINE 10 MG TAB          HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     HYDRALAZINE 100 MG TAB         HEART HEALTH & BLOOD PRESSURE   60.00             180.00

                                                                                   Exhibit A - Page 6
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                                                                       $9.99 30 Day      $15.99 90 Day
     List Name                         Category
                                                                       Max Qty           Max Qty

     HYDRALAZINE 25 MG TAB             HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     HYDRALAZINE 50 MG TAB             HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     HYDROCHLOROTHIAZIDE 12.5 MG CAP   HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     HYDROCHLOROTHIAZIDE 25 MG TAB     HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     HYDROCHLOROTHIAZIDE 50 MG TAB     HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     HYDROCORTISONE 2.5% CRM           SKIN CONDITIONS                 30.00             90.00

     HYDROCORTISONE 2.5% OINT          SKIN CONDITIONS                 28.35             85.05

     HYDROXYZINE HCL10MG/5ML SYR       ALLERGIES & COLD AND FLU        120.00            360.00

     IBUPROFEN 400 MG TAB              ARTHRITIS & PAIN                60.00             180.00

     IBUPROFEN 600 MG TAB              ARTHRITIS & PAIN                60.00             180.00

     IBUPROFEN 800 MG TAB              ARTHRITIS & PAIN                30.00             90.00

     INDAPAMIDE 1.25 MG TAB            HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     INDAPAMIDE 2.5 MG TAB             HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     INDOMETHACIN 25 MG CAP            ARTHRITIS & PAIN                60.00             180.00

     INDOMETHACIN 50 MG CAP            ARTHRITIS & PAIN                30.00             90.00

     IPRATROPIUM BR 0.02% SOLN         ASTHMA                          62.50             187.50

     ISONIAZID 300 MG TAB              OTHER MEDICAL CONDITIONS        30.00             90.00

     ISOSORBIDE DN 10 MG TAB           HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     ISOSORBIDE DN 30 MG TAB           HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     ISOSORBIDE DN 5 MG TAB            HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     ISOSORBIDE MN 10 MG TAB           HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     ISOSORBIDE MN 20 MG TAB           HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     ISOSORBIDE MN 30 MG TAB SA        HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     ISOSORBIDE MN 60 MG TAB ER        HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     ISOSORBIDE MN 120 MG TAB ER       #N/A                            30.00             90.00

     KETOCONAZOLE 2% CRM               SKIN CONDITIONS                 30.00             90.00

     LACTULOSE 10 GM/15 ML SOLN        GASTROINTESTINAL HEALTH         473.00            1419.00

     LEVOBUNOLOL 0.5% EYE DROPS        GLAUCOMA & EYE CARE             5.00              15.00

     LEVOTHYROXINE 100 MCG TAB         THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 112 MCG TAB         THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 125 MCG TAB         THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 137 MCG TAB         THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 150 MCG TAB         THYROID CONDITION               30.00             90.00

                                                                       $9.99 30 Day      $15.99 90 Day
     List Name                         Category
                                                                       Max Qty           Max Qty

     LEVOTHYROXINE 175 MCG TAB         THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 200 MCG TAB         THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 25 MCG TAB          THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 300 MCG TAB         THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 50 MCG TAB          THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 75 MCG TAB          THYROID CONDITION               30.00             90.00

     LEVOTHYROXINE 88 MCG TAB          THYROID CONDITION               30.00             90.00

     LIDOCAINE 2% VISCOUS SOLN         OTHER MEDICAL CONDITIONS        100.00            300.00

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                                                                      $9.99 30 Day      $15.99 90 Day
     List Name                        Category
                                                                      Max Qty           Max Qty

     LIDOCAINE-PRILOCAIN 2.5% CRM     OTHER MEDICAL CONDITIONS        30.00             90.00

     LISINOPRIL 10 MG TAB             HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LISINOPRIL 2.5 MG TAB            HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LISINOPRIL 20 MG TAB             HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LISINOPRIL 30 MG TAB             HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LISINOPRIL 40 MG TAB             HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LISINOPRIL 5 MG TAB              HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LISINOPRIL-HCTZ 10/12.5 TAB      HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LISINOPRIL-HCTZ 20/12.5 TAB      HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LISINOPRIL-HCTZ 20/25 TAB        HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     LITHIUM CARBONATE 300 MG CAP     MENTAL HEALTH                   90.00             270.00

     LOVASTATIN 10 MG TAB             CHOLESTEROL                     30.00             90.00

     LOVASTATIN 20 MG TAB             CHOLESTEROL                     30.00             90.00

     LOVASTATIN 40 MG TAB             CHOLESTEROL                     30.00             90.00

     MEDROXYPROGESTERONE 10 MG TAB    WOMAN’S HEALTH                  10.00             30.00

     MEDROXYPROGESTERONE 2.5 MG       WOMAN’S HEALTH                  30.00             90.00

     MEDROXYPROGESTERONE 5 MG TAB     WOMAN’S HEALTH                  30.00             90.00

     MEGESTROL 20 MG TAB              OTHER MEDICAL CONDITIONS        30.00             90.00

     MEGESTROL 40 MG TAB              OTHER MEDICAL CONDITIONS        30.00             90.00

     MELOXICAM 15 MG TAB              ARTHRITIS & PAIN                30.00             90.00

     MELOXICAM 7.5 MG TAB             ARTHRITIS & PAIN                30.00             90.00

     METFORMIN HCL 1,000 MG TAB       DIABETES                        60.00             180.00

     METFORMIN HCL 500 MG TAB         DIABETES                        60.00             180.00

     METFORMIN HCL 750 MG ER TAB      DIABETES                        60.00             180.00

     METFORMIN HCL 850 MG TAB         DIABETES                        60.00             180.00

     METFORMIN HCL ER 500 MG TAB      DIABETES                        60.00             180.00

     METHIMAZOLE 10 MG TABLET         THYROID CONDITION               30.00             90.00

     METHIMAZOLE 5 MG TABLET          THYROID CONDITION               30.00             90.00

     METHYLDOPA 250 MG TAB            HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     METOCLOPRAMIDE 10 MG TAB         GASTROINTESTINAL HEALTH         60.00             180.00

     METOCLOPRAMIDE 5 MG TAB          GASTROINTESTINAL HEALTH         60.00             180.00

     METOCLOPRAMIDE 5 MG/5 ML SYR     GASTROINTESTINAL HEALTH         60.00             180.00

     METOPROLOL 100 MG TAB            HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     METOPROLOL 25 MG TAB             HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     METOPROLOL 50 MG TAB             HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     METRONIDAZOLE 250 MG TAB         ANTIBIOTIC TREATMENT            28.00             84.00

     METRONIDAZOLE 500 MG TAB         ANTIBIOTIC TREATMENT            14.00             42.00

     MOMETASONE FUROATE 0.1% CREAM    SKIN CONDITIONS                 45.00             135.00

     MOMETASONE FUROATE 0.1% OINT     SKIN CONDITIONS                 45.00             135.00

     MULTI-VITA BETS/FL 0.25 MG LIQ   VITAMINS & NUTRITIONAL HEALTH   50.00             150.00

     MULTI-VITA BETS/FL 0.5 MG LIQ    VITAMINS & NUTRITIONAL HEALTH   50.00             150.00

     MULTIVIT-IRON-FL 0.25 MG/ML      VITAMINS & NUTRITIONAL HEALTH   50.00             150.00


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                                                                      $9.99 30 Day      $15.99 90 Day
     List Name                        Category
                                                                      Max Qty           Max Qty

     NAPROXEN 250 MG TAB              ARTHRITIS & PAIN                60.00             180.00

     NAPROXEN 375 MG TAB              ARTHRITIS & PAIN                60.00             180.00

     NAPROXEN 500 MG TAB              ARTHRITIS & PAIN                60.00             180.00

     NEO/POLYMYXIN/DEXAMETH DROPS     GLAUCOMA & EYE CARE             5.00              15.00

     NORTRIPTYLINE HCL 10 MG CAP      MENTAL HEALTH                   30.00             90.00

     NORTRIPTYLINE HCL 25 MG CAP      MENTAL HEALTH                   30.00             90.00

     NORTRIPTYLINE HCL 50 MG CAP      MENTAL HEALTH                   30.00             90.00

     NORTRIPTYLINE HCL 75 MG CAP      MENTAL HEALTH                   30.00             90.00

     OXYBUTYNIN 5 MG TAB              OTHER MEDICAL CONDITIONS        60.00             180.00

     PAROXETINE HCL 10 MG TAB         MENTAL HEALTH                   30.00             90.00

     PAROXETINE HCL 20 MG TAB         MENTAL HEALTH                   30.00             90.00

     PAROXETINE HCL 30 MG TAB         MENTAL HEALTH                   30.00             90.00

     PAROXETINE HCL 40 MG TAB         MENTAL HEALTH                   30.00             90.00

     PENICILLIN VK 125 MG/5 ML LIQ    ANTIBIOTIC TREATMENT            200.00            600.00

     PENICILLIN VK 250 MG TAB         ANTIBIOTIC TREATMENT            28.00             84.00

     PENICILLIN VK 250 MG/5 ML LIQ    ANTIBIOTIC TREATMENT            200.00            600.00

     PENICILLIN VK 500 MG TAB         ANTIBIOTIC TREATMENT            28.00             84.00

     PHENAZOPYRIDINE 100 MG TAB       OTHER MEDICAL CONDITIONS        6.00              18.00

     PHENAZOPYRIDINE 200 MG TAB       OTHER MEDICAL CONDITIONS        6.00              18.00

                                                                     $9.99 30 Day      $15.99 90 Day
     List Name                       Category
                                                                     Max Qty           Max Qty

     POLYMYXIN B/TMP EYE DROPS       GLAUCOMA & EYE CARE             10.00             30.00

     PRAVASTATIN SODIUM 10 MG TAB    CHOLESTEROL                     30.00             90.00

     PRAVASTATIN SODIUM 20 MG TAB    CHOLESTEROL                     30.00             90.00

     PRAVASTATIN SODIUM 40 MG TAB    CHOLESTEROL                     30.00             90.00

     PRAVASTATIN SODIUM 80 MG TAB    CHOLESTEROL                     30.00             90.00

     PRAZOSIN 1 MG CAP               HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     PRAZOSIN 2 MG CAP               HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     PRAZOSIN 5 MG CAP               HEART HEALTH & BLOOD PRESSURE   30.00             90.00

     PREDNISONE 1 MG TAB             OTHER MEDICAL CONDITIONS        90.00             270.00

     PREDNISONE 10 MG TAB            OTHER MEDICAL CONDITIONS        30.00             90.00

     PREDNISONE 2.5 MG TAB           OTHER MEDICAL CONDITIONS        30.00             90.00

     PREDNISONE 20 MG TAB            OTHER MEDICAL CONDITIONS        30.00             90.00

     PREDNISONE 5 MG DOSE PACK       OTHER MEDICAL CONDITIONS        21.00             63.00

     PREDNISONE 5 MG TAB             OTHER MEDICAL CONDITIONS        30.00             90.00

     PROCHLORPERAZINE 10 MG TAB      GASTROINTESTINAL HEALTH         30.00             90.00

     PROMETHAZINE 12.5 MG TABLET     GASTROINTESTINAL HEALTH         120.00            360.00

     PROMETHAZINE 25 MG TAB          GASTROINTESTINAL HEALTH         30.00             90.00

     PROMETHAZINE 50 MG TAB          GASTROINTESTINAL HEALTH         60.00             180.00

     PROMETHAZINE 6.25 MG/5 ML SYR   GASTROINTESTINAL HEALTH         180.00            540.00

     PROMETHAZINE DM SYRUP           GASTROINTESTINAL HEALTH         120.00            360.00

     PROPRANOLOL 10 MG TAB           HEART HEALTH & BLOOD PRESSURE   60.00             180.00

     PROPRANOLOL 20 MG TAB           HEART HEALTH & BLOOD PRESSURE   60.00             180.00

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                                                                    $9.99 30 Day       $15.99 90 Day
     List Name                      Category
                                                                    Max Qty            Max Qty

     PROPRANOLOL 40 MG TAB          HEART HEALTH & BLOOD PRESSURE   60.00              180.00

     PROPRANOLOL 80 MG TAB          HEART HEALTH & BLOOD PRESSURE   60.00              180.00

     RANITIDINE 150 MG TAB          GASTROINTESTINAL HEALTH         60.00              180.00

     RANITIDINE 300 MG TAB          GASTROINTESTINAL HEALTH         30.00              90.00

     SELENIUM 2.5% LOTION/SHAMPOO   SKIN CONDITIONS                 118.00             354.00

     SERTRALINE HCL 100 MG TAB      MENTAL HEALTH                   30.00              90.00

     SERTRALINE HCL 25 MG TAB       MENTAL HEALTH                   30.00              90.00

     SERTRALINE HCL 50 MG TAB       MENTAL HEALTH                   30.00              90.00

     SILVER SULFADIAZINE 1% CRM     SKIN CONDITIONS                 50.00              150.00

     SIMVASTATIN 10 MG TAB          CHOLESTEROL                     30.00              90.00

     SIMVASTATIN 20 MG TAB          CHOLESTEROL                     30.00              90.00

     SIMVASTATIN 40 MG TAB          CHOLESTEROL                     30.00              90.00

     SIMVASTATIN 5 MG TAB           CHOLESTEROL                     30.00              90.00

     SIMVASTATIN 80 MG TAB          CHOLESTEROL                     30.00              90.00

     SOD CITRATE-CITRIC ACID SOLN   OTHER MEDICAL CONDITIONS        473.00             1419.00

     SOTALOL 120 MG TAB             HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     SOTALOL 160 MG TAB             HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     SOTALOL 80 MG TAB              HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     SPIRONOLACT/HCTZ 25/25 TAB     HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     SPIRONOLACTONE 100 MG TAB      HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     SPIRONOLACTONE 25 MG TAB       HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     SPIRONOLACTONE 50 MG TAB       HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     SULFAMETHOXAZOLE/TMP DS TAB    ANTIBIOTIC TREATMENT            20.00              60.00

     SULFAMETHOXAZOLE/TMP SS TAB    ANTIBIOTIC TREATMENT            28.00              84.00

     TAMOXIFEN 10 MG TAB            WOMAN’S HEALTH                  60.00              180.00

     TAMOXIFEN 20 MG TAB            WOMAN’S HEALTH                  30.00              90.00

     TERAZOSIN 1 MG CAP             HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     TERAZOSIN 10 MG CAP            HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     TERAZOSIN 2 MG CAP             HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     TERAZOSIN 5 MG CAP             HEART HEALTH & BLOOD PRESSURE   30.00              90.00

     TERBINAFINE HCL 250 MG TAB     FUNGAL INFECTIONS               30.00              90.00

     TIMOLOL 0.25% EYE DROPS        GLAUCOMA & EYE CARE             5.00               15.00

     TIMOLOL 0.5% EYE DROPS         GLAUCOMA & EYE CARE             5.00               15.00

     TRAZODONE 100 MG TAB           MENTAL HEALTH                   30.00              90.00

     TRAZODONE 150 MG TAB           MENTAL HEALTH                   30.00              90.00

     TRAZODONE 50 MG TAB            MENTAL HEALTH                   30.00              90.00

     TRIAMCINOLONE 0.025% CRM       SKIN CONDITIONS                 80.00              240.00

     TRIAMCINOLONE 0.025% OINT      SKIN CONDITIONS                 15.00              45.00

     TRIAMCINOLONE 0.1% CRM         SKIN CONDITIONS                 80.00              240.00

     TRIAMCINOLONE 0.1% OINT        SKIN CONDITIONS                 80.00              240.00

     TRIAMCINOLONE 0.5% CRM         SKIN CONDITIONS                 15.00              45.00

     TRIAMTERENE/HCTZ 37.5/25 CAP   HEART HEALTH & BLOOD PRESSURE   30.00              90.00


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                                                                     $9.99 30 Day      $15.99 90 Day
     List Name                      Category
                                                                     Max Qty           Max Qty

     TRIAMTERENE/HCTZ 37.5/25 TAB   HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     TRIAMTERENE/HCTZ 75/50 TAB     HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     TRIHEXYPHENIDYL 2 MG TAB       MENTAL HEALTH                    60.00             180.00

     TRIHEXYPHENIDYL 5 MG TAB       MENTAL HEALTH                    60.00             180.00

     TRI-VIT-FLUOR-IRON 0.25MG/ML   VITAMINS & NUTRITIONAL HEALTH    50.00             150.00

     UREA 40% GEL                   SKIN CONDITIONS                  15.00             45.00

     VERAPAMIL 120 MG TAB           HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     VERAPAMIL 40 MG TAB            HEART HEALTH & BLOOD PRESSURE    60.00             180.00

     VERAPAMIL 80 MG TAB            HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     VINATE-M TAB                   VITAMINS & NUTRITIONAL HEALTH    30.00             90.00

     WARFARIN SODIUM 1 MG TAB       HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     WARFARIN SODIUM 10 MG TAB      HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     WARFARIN SODIUM 2 MG TAB       HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     WARFARIN SODIUM 2.5 MG TAB     HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     WARFARIN SODIUM 3 MG TAB       HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     WARFARIN SODIUM 4 MG TAB       HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     WARFARIN SODIUM 5 MG TAB       HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     WARFARIN SODIUM 6 MG TAB       HEART HEALTH & BLOOD PRESSURE    30.00             90.00

     WARFARIN SODIUM 7.5 MG TAB     HEART HEALTH & BLOOD PRESSURE    30.00             90.00


                                       Generic Oral Contraceptives
     List Name                                                         Qty              Price

     ALYACEN 1-35-28 TABLET                                            28.00            19.99

     ARANELLE 28 TABLET                                                28.00            19.99

     BALZIVA 28 TABLET                                                 28.00            19.99

     CRYSELLE 28 TABLET                                                28.00            19.99

     DASETTA 1-35-28 TABLET                                            28.00            19.99

     DASETTA 7/7/7-28 TABLET                                           28.00            19.99

     DEBLITANE 0.35 MG TAB 28                                          28.00            19.99

     ENSKYCE 28 TABLET                                                 28.00            19.99

     FALMINA - 28 TAB                                                  28.00            19.99

     GILDESS FE 1-20 TABLET                                            28.00            19.99

     JULEBER - 28 TABLET                                               28.00            19.99

     JUNEL FE 1MG-20MCG TABLET                                         28.00            19.99

     KELNOR 1-35 28 TABLET                                             28.00            19.99

     LARIN FE 1.5-30 TABLET                                            28.00            19.99

     LESSINA-28 TABLET                                                 28.00            19.99

     LEVONEST-28 TABLET                                                28.00            19.99

     LILLOW-28 TABLET                                                  28.00            19.99

     MARLISSA-28 TABLET                                                28.00            19.99

     MICROGESTIN 21 1.5-30 TAB                                         21.00            19.99

     MONO-LINYAH 28 TABLET                                             28.00            19.99

     NECON 1-50-28 TABLET                                              28.00            19.99

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            List Name                                                                                                 Qty         Price

            NORETHIND-ETH ESTRAD 1-0.02 MG                                                                            21.00       19.99

            SETLAKIN 0.15-0.03 MG                                                                                     91.00       59.97

            SHAROBEL 0.35 MG TABLET                                                                                   28.00       19.99

            TRI-LINYAH TABLET                                                                                         28.00       19.99

            VELIVET 28 DAY TABLET                                                                                     28.00       19.99

            WERA 0.5/0.035 MG TABLET                                                                                  28.00       19.99


                                                            Other Specially-Priced Items

              List Name                                                                                            Qty           Price


              TRUEMETRIX GLUCOSE TEST STRIPS                                                                       50.00         17.99


              DOXYCYCLINE 100 MG CAP                                                                               20.00         29.99


              DOXYCYCLINE 100 MG CAP                                                                               60.00         89.97


              ZOLPIDEM TARTRATE 5 MG TAB                                                                           30.00         19.99


              ZOLPIDEM TARTRATE 5 MG TAB                                                                           90.00         59.97


              ZOLPIDEM TARTRATE 10 MG TAB                                                                          30.00         19.99


              ZOLPIDEM TARTRATE 10 MG TAB                                                                          90.00         59.97




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